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13 Jack Daniel’s Properties, Inc.

14
                            IN THE UNITED STATES DISTRICT COURT
15
                                FOR THE DISTRICT OF ARIZONA
16

17 VIP Products, LLC, an Arizona limited          )
   liability company,                             ) Case No. CV 14-02057 PHX SMM
18                                                )
               Plaintiff,                         )
19                                                )    NOTICE OF FILING OF TRIAL
   v.                                             )              EXHIBITS
20                                                )
   Jack Daniel’s Properties, Inc., a Delaware     )
21 corporation,                                   )
                                                  )
22             Defendant.                         )
                                                  )
23 And Related Counterclaims.                     )
                                                  )
24

25         Please take notice: For the convenience of the court and for completeness of the
26 record, Defendant, Jack Daniel’s Properties, Inc., (“Jack Daniel’s”) hereby submits

27 electronic copies of the joint exhibits and Jack Daniel’s exhibits used at trial by Jack
28 Daniel’s. (With the exception of the physical exhibits (Ex. 1 & 2) and the media/native-

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      NOTICE OF FILING OF TRIAL EXHIBITS                               NO. CV-14-2057-PHX-SMM
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 1 file exhibits (Ex. 107, 109, 110, 111, 136, 146, 147, & 173) which may be submitted

 2 physically should the Court so desire, but otherwise are available at undersigned counsel’s

 3 office upon request.)

 4

 5
     Dated: October 19, 2017,
 6

 7                                                      /s/ Isaac S. Crum
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18                                                    Counterclaimant
                                                      JACK DANIEL’S PROPERTIES, INC.
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      NOTICE OF FILING OF TRIAL EXHIBITS                                NO. CV-14-2057-PHX-SMM
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on October 19, 2017, I electronically filed the foregoing with
 3 the Clerk of Court using the CM/ECF system, which will send a notification of such

 4 filing (NEF) to all counsel of record in this case.

 5

 6                                               /s/ Isaac S. Crum
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      NOTICE OF FILING OF TRIAL EXHIBITS                               NO. CV-14-2057-PHX-SMM
